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                               UNITED STATES DISTRICT COURT'

                                 DISTRICT OF SOUTH DAKOTA
                                                                                  FILED
                                                                                   AUG 26 2003
                                      SOUTHERN DIVISION                            ~~~
 ***************************************************************~**~~***
                                               *
 BUD THEUS III,                      *            CIV 08-4110
                                     *            CR 05-40064
                   Petitioner,       *
                                     *       MEMORANDUM OPINION AND
       -vs-                          *     ORDER DISMISSING MOTION UNDER
                                     *     § 2255 TO VACATE, SET ASIDE, OR
 UNITED STATES OF AMERICA,           *         CORRECT SENTENCE
                                     *
                   Respondent.       *
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        Pending before the Court is Petitioner Bud Theus Ill's motion under 28 U.S.C. § 2255 to
 vacate, set aside, or correct sentence by a person in federal custody. Doc. 376. Under Rule 4 of the
 Rules Governing Section 2255 Proceedings, this Court must examine a 2255 Petition and if it
 "plainly appears from the motion, any attached exhibits, and the record of prior proceedings that the
 moving party is not entitled to relief, the judge must dismiss the motion." For the reasons set forth
 in this memorandum opinion, the motion under 28 U.S.C. § 2255 is dismissed.
                                          BACKGROUND
        Bud Theus III was indicted for conspiracy to distribute or possess with intent to distribute
 5 kilograms or more of a mixture or substance containing cocaine. After a jury convicted Theus of
 the charged conspiracy and before sentencing, this Court ordered and received briefing from the
 parties regarding the Motion for Judgment of Acquittal made by Theus and taken under advisement
 by the Court at the time of trial. Theus maintained that the Government failed to prove the single
 conspiracy charged in the Indictment. Doc. 311.
        In this Court's Memorandum Opinion and Order dated August 29,2006, this Court denied
 Theus' Motion for Judgment of Acquittal. Although this Court concluded that a variance existed
 because Theus was not proven to be a part of the charged conspiracy but was proven to be a part of
 a conspiracy which was proven but not charged. This Court concluded, however, that the variance
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 did not infringe upon Theus' substantial rights. Doc. 319.
        Theus appealed from the Judgment of Conviction and Sentence. Theus argued on appeal that
 the evidence was insufficient to convict him and the this Court erred by failing to recognize that a
 variance between the conspiracy for which Theus was convicted and the conspiracy alleged in the
 Indictment affected his substantial rights. After briefs were submitted and oral argument was
 presented, a panel of the Eighth Circuit Court of Appeals affirmed the judgment of conviction after
 concluding that even if there was a variance, Theus' substantial rights were not affected and there
 was sufficient evidence to support his conviction. Doc. 355.


                                           DISCUSSION
        Theus first claims: "The evidence was insufficient to convict Theus and that the district court
 erred by failing to recognize that a variance between the conspiracy for which Theus was convicted
 and the one alleged in the indictment affected his substantial rights." A section 2255 movant cannot
 raise the same issues that have been decided on direct appeal. See United States v. Kraemer, 810
 F.2d 173, 177 (8th Cir. 1987) (per curiam). These claims are identical to those presented to and
 decided by the Eighth Circuit Court of Appeals and the Eighth Circuit's holding forecloses
 consideration of these issues in this 2255 motion.
         Theus next claims that counsel was ineffective for failing to raise a Rule 33 motion for new
 trial. The performance of counsel is ineffective when it is deficient and results in prejudice to the
 defendant. Strickland v. Washington, 466 U.S. 668, 687 (1984). Prejudice occurs where, in the
 absence of counsel's deficient performance, "the decision reached would reasonably likely have been
 different." Id. at 696. The issues Theus claims should have been raised in a Rule 33 motion were
 those that were raised in the Motion for Judgment of Acquittal and on direct appeal. Theus has failed
 to demonstrate either deficient performance by counselor prejudice to Thues for counsel having
 raised the issues in his case by a Motion for Judgment of Acquittal.
         Theus also complains that counsel failed to submit a supplemental brief after both parties
 were ordered by the Eighth Circuit Court of Appeals to submit simultaneous briefs on Theus'
 contention that he suffered prejudice as a result of the spillover of evidence from one conspiracy to
 the other. The record in the Eighth Circuit establishes that counsel argued the spillover issue in his


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 initial brief and at oral argument. Also, a docket entry on May 14, 2007, notes that counsel moved
 the Eighth Circuit to accept appellant's pro se motion for leave to file supplemental citation as
 counsel's supplemental brief. Although this Court does not condone counsel's failure to strictly
 adhere to the Eighth Circuit's request for briefing, this Court after reviewing the record and listening
 to the recording of oral argument before the Eighth Circuit is satisfied that counsel competently
 presented the variance spillover issue and that Theus was not prejudiced by the failure to file the
 supplemental brief as ordered. Accordingly,


         IT IS HEREBY ORDERED that Theus' motion to vacate, set aside or correct sentence
         pursuant to 28 U.S.c. § 2255 (Doc.376) is dismissed.
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         Dated this   ~~ay of August, 2008.
                                                 BY THE COURT:



                                                 L wrence L. Piersol
                                                  nited States District Judge




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